USDC IN/ND case 3:17-cv-00718-JD-MGG document 162 filed 04/22/21 page 1 of 2


                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                SOUTH BEND DIVISION

 MERCASIA USA LTD,

               Plaintiff,

                      v.                           CASE NO. 3:17-CV-718-JD-MGG

 JIANQING ZHU, et al.,

               Defendants.

                                         ORDER

       On March 31, 2021, Defendant, 3BTech, Inc. (“3BTech”) filed its Motion to Strike

Marston Declaration along with an accompanying memorandum in support. Through

its motion, 3BTech asked the Court to strike the Declaration of Michael B. Marston [DE

153-1] as attached to Plaintiff MercAsia USA, Ltd.’s (“MercAsia’s”) brief in response to

3BTech’s pending Motion for Reconsideration [DE 150]. 3BTech contends that the

Marston Declaration contains information protected by attorney-client privilege and

therefore should stricken consistent with Fed. R. Civ. P. 26(b)(5) and this Court’s

protective order [DE 78 at 9–10].

       Rather than file a brief in response to 3BTech’s Motion to Strike, MercAsia filed

its Unopposed Motion to Strike the Declaration of Michael D. Marston from the Record

on April 13, 2021. Based on 3BTech’s assertion that the Marston Declaration contains

privileged information, MercAsia seeks to honor its obligations under Rule 26(b)(5) to

retrieve the document. With agreement by the parties that retrieval of the Marston

Declaration is proper under Rule 26(b)(5), the Court GRANTS MercAsia’s Motion to
USDC IN/ND case 3:17-cv-00718-JD-MGG document 162 filed 04/22/21 page 2 of 2


Strike. [DE 160]. The Marston Declaration is STRICKEN [DE 153-1] from the record.

With the Declaration now stricken, 3BTech’s Motion to Strike is DENIED AS MOOT.

[DE 155].

      SO ORDERED this 22nd day of April 2021.

                                             S/Michael G. Gotsch, Sr.
                                             Michael G. Gotsch, Sr.
                                             United States Magistrate Judge




                                         2
